           Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 1 of 31




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 8/19/2020
                                                                       :
MIGUEL RIVERA,                                                         :
                                                                       :
                                    Plaintiff,                         :
                  -v-                                                  :    20-cv-1284 (LJL)
                                                                       :
NAVIENT SOLUTIONS, LLC,                                                :   OPINION & ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        Defendant Navient Solutions, LLC (“Navient” or “Defendant”) moves, pursuant to Fed.

R. Civ. P. 12(b)(6), to dismiss the complaint against it. For the reasons below, the motion to

dismiss is granted in part and denied in part.

                                               BACKGROUND

        The sad events at the heart of this case arise at the intersection of the federal student loan

program and the billing practices of a financial institution that serviced loans made under that

program. Plaintiff Miguel Rivera (“Rivera” or “Plaintiff”) is an indigent borrower of federally

insured student loans. Dkt. No. 1 (“Complaint” or “Compl.”) ¶ 1.1 Navient, a servicer of the

federally insured loans, serviced Rivera’s student loans. Id. ¶ 2. Plaintiff’s loans were issued by

private banks under the Federal Family Education Loan Program (“FFELP”), 20 U.S.C. § 1087a

et seq., 20 U.S.C. § 1071 et seq., and were governed by regulations issued as part of that

program.2


1
  The Court accepts the well-pleaded allegations of the Complaint and the documents
incorporated therein as true for purposes of the motion to dismiss. See Mills v. Polar Molecular
Corp., 12 F.3d 1170, 1174 (2d Cir. 1993).
2
  The FFELP is well described in Nelson v. Great Lakes Educational Loan Servs, Inc., 928 F.3d
639, 642-43 (7th Cir. 2019).
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 2 of 31




A.     The Federal Student Loan Program

       Federally insured student loans are issued either directly from the federal government

(the direct loan program) or, as in this case, from private banks under the FFELP. Compl. ¶ 17.

Both types of federally insured loans can be subsidized by the government (i.e., the government

pays interest during certain periods, such as when the borrower is in school) or unsubsidized

(i.e., the borrower is responsible for interest payments throughout the life of the loans). Id. ¶ 18.

       There are three ways in which a borrower who has difficulty repaying their student loan

can be excused or relieved from making the full payment. First, the deferment regulations

permit a borrower who qualifies under a strict set of rules to defer a payment for up to three

years during the entire life of the loan. Id. ¶¶ 20, 23; see 34 C.F.R. § 682.210. Second, a

forbearance may be given for any “acceptable reason” and permits a borrower to forbear from

making a payment for a total of three years. Compl. ¶¶ 20, 24; see 34 C.F.R. § 682.211. Both

ways require the borrower to pay the interest that has accrued during the time of relief after the

period of forbearance or deferment has ended. Compl. ¶¶ 25-26. Thus, a borrower who forbears

payment or defers an unsubsidized loan due to an economic hardship will be immediately

confronted with the obligation to pay that accrued interest when her forbearance or deferment

ends, making future repayments more difficult. Id. ¶ 25 (Notably, a borrower who defers a

subsidized loan due to economic hardship is not confronted with this accrued interest because the

government pays it.) Id.

       Third, and in Rivera’s case, a borrower may participate in the Income Based Repayment

(“IBR”) program, which is also referred to by Navient as an Income-Driven Plan (“IDR”).

Congress created the program in 2008 to address the limits of forbearance and economic

hardship deferment and provide a third option for borrowers struggling to repay their student

loans. Id. ¶¶ 27-29. A borrower qualifies for the program if she is experiencing “partial


                                                  2
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 3 of 31




financial hardship,” meaning that she pays more than 15% of her disposable income towards

student loans under the “standard” repayment plan, which gives a borrower ten years to fully

repay her loans. Id. ¶¶ 33-35; see 20 U.S.C. § 1098e(b)(1); 34 C.F.R. § 682.215(a)(4). To this

end, disposable income is defined as the difference between the borrower’s annual adjusted gross

income and 150% of the poverty line for the borrower’s family size. Compl. ¶ 36; see 20 U.S.C.

§ 1098e(a)(3); 34 C.F.R. § 682.215. In essence, a borrower who participates in the IBR program

elects to have her monthly student loan payment reduced to an amount no greater than 15% of

her disposable income.

       The IBR has substantial advantages over deferment and forbearance. Unlike forbearance

or deferment, IBR can be used for up to 25 years (after which, if the borrower has made all IBR

payments, the government forgives any outstanding balance). Compl. ¶ 31; see 20 U.S.C.

§ 1098e(b)(7). Nor does IBR saddle the borrower with as large an accumulated interest payment

when she emerges from the plan. For a period of up to three years, if her IBR payment does not

cover all accruing interest on a subsidized loan, the government covers the shortfall, relieving the

borrower of the burden of unpaid accrued interest. Compl. ¶ 37; see 34 C.F.R. § 682.215(b)(4).

Although the government will not pay accrued interest on unsubsidized loans, unpaid interest

that accumulates while the borrower is in IBR does not earn interest. Compl. ¶¶ 38, 42. Thus,

the debt burden will be lower than under deferment or forbearance.

       As noted, the IBR program has no time limit. A borrower exits the IBR and accrued

interest is capitalized only when: (a) she no longer has a partial financial hardship, i.e., when she

has sufficient income to fully repay her loan under the standard repayment plan; (b) she fails to

complete annual recertification requirements regarding income and family size; (c) she elects a

different payment plan like forbearance or deferment; or (d) she completes 25 years of timely




                                                  3
          Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 4 of 31




IBR payments whereupon her remaining loan balance is forgiven and the government pays to the

FFELP loan servicer or loan holder the interest and principal that has accumulated on the loan.

Id. ¶¶ 40-41.

        The IBR program also allows a borrower to make voluntary payments in excess of her

required amount, known as a prepayment. Id. ¶¶ 47, 66. Her prepayment can be allocated in two

ways, depending on its size. Under the first allocation method, if her prepayment is less than her

regular monthly IBR payment, her prepayment is allocated first to interest, then late fees, and

finally to principal. Id. ¶ 68; see 34 C.F.R. § 682.215(c)(3)-(4). Likewise, if her IBR payment is

$0.00 and she pays some amount, her prepayment is allocated first to interest, then to late fees,

and only finally to principal. The latter provision is particularly salient in this case, so an

illustration is merited. If a borrower’s payment is $0.00, but she makes a payment of $20.00 in

an attempt to pay a late fee, that $20.00 is treated as a prepayment and it would only be applied

as desired if she has already paid off all accrued interest. The late fee will go unpaid unless the

prepayment first pays off accrued interest. This allotment method cannot be altered. Compl.

¶ 71.

        For IBR borrowers with subsidized loans, the foregoing method can lead to a windfall for

the servicer and loan holder. A servicer who allocates a prepayment to accrued interest is not

required to return the subsidized interest payment for that loan and may retain the full amount of

the subsidy. Id. ¶¶ 78-79. Thus, the servicer receives double payment—first from the borrower

and then from the government. By contrast, the borrower does not benefit from her prepayment,

which satisfies interest that the government is also paying on her behalf.

        The second allocation method applies only when a borrower’s prepayment equals or

exceeds that of her regular monthly IBR payment; in such a case, the prepayment is credited




                                                   4
            Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 5 of 31




towards the next payment of interest and principal (but not to late fees), and her next IBR

payment is due in two months. Compl. ¶ 73; see 34 C.F.R. § 682.215(c)(3). This allotment

method can be overridden by the borrower (and, for example, put the prepayment towards late

fees), by “requesting” that the servicer not extend her next due date but instead apply the

prepayment to late fees, or principal, or accrued interest. Compl. ¶ 75.

B.      Navient’s Billing Practices

        Navient is a large servicer of federally insured loans.

        Its monthly billing statement is a three-page document. The billing statement sent to

Rivera for the month of June 2019 is representative. See Compl., Ex. A. The first page contains

information on how much the borrower should pay. In particular, that page sets forth a

twelve-field account summary with fields for “Past Amount Due,” “Current Amount Due (+ any

past due amount),” “Unpaid Fees,” and “Total Payment Due.” It is displayed as follows:



                                                           As shown, the first page also has a
                                                           window in the upper right corner
                                                           which discusses how to make a
                                                           payment conveniently and indicates
                                                           the amount due. It states: “You
                                                           have $[23.39] due [07/26/19]”. At
                                                           the bottom of the page is a
                                                           perforated payment slip to be
                                                           detached and included with a
                                                           payment. It states in large bold
                                                           type: “Total Payment Due:
                                                           $[23.39]” without stating any other
                                                           amounts.




Id. at 1.




                                                  5
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 6 of 31




        The second page contains tables for “Loan Information” as of the billing date, with lines

for the current balance including unpaid interest, unpaid fees, and unpaid principal; a “Billing

Period Summary” that indicates payments received and how the last payment was applied

(including whether applied to interest, to fees, or to principal); and “Loan Details.” Id. at 2. At

the bottom of the box for “Loan Details,” the second page on Rivera’s billing statement states

that the “Total Payment Due” and “Unpaid Fees” are $23.39. It also lists $0.00 for “Current

Amount Due” and “Past Due Amount.”




Id.

       The third page contains the fine print including information about how payments are

allocated, the answers to frequently asked questions, and important disclosures. Pertinent to this

case, Navient states in 8-point type: “If you are on an Income-Driven Repayment (IDR) plan . . .

[y]ou are not required to pay more than the present amount due to remain current during the IDR

plan.” Id. at 3. “Present amount due” is not defined anywhere in the statement.




                                                 6
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 7 of 31




Id.

       Navient also enclosed the “Total Payment Due” in a “snapshot” email providing a

“snapshot of your monthly statement” to borrowers who elected email delivery of their monthly

statement. Id. at 4-5. The email disclaims that it “does not include all information from your

statement.” Id. It does not state the “Current Amount Due.”

C.     Miguel Rivera’s Case

       Rivera is 49 years old. Compl. ¶ 127. He attended the University of Connecticut from

1988 to 1994 and paid for his education with Stafford loans issued under the FFELP, as well as

by working. Id. ¶ 128. His undergraduate loans totaled $22,550 and were subsidized, meaning

that the government paid interest payments to the FFELP lender when he was in school, and

thereafter when he experienced periods of economic hardship. Id. By 2000, after working at

two non-profit organizations and enduring a stint of unemployment, he nonetheless managed to

pay down about a quarter of his undergraduate debt. Id. ¶ 129. In September of that same year,

he enrolled in a Master’s degree program in Film Production/Screenwriting at Columbia



                                                7
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 8 of 31




University. Id. ¶ 130. He paid his tuition with a combination of subsidized loans, unsubsidized

loans, and work-study. Id. ¶ 131. He graduated from Columbia University in 2005, with more

than $100,000 in graduate school debt. Id. ¶ 132. He was not able to find work in the film

industry; in the meantime, he kept his loans in good standing by a series of hardship deferments

and forbearances. Id. ¶ 133. He also worked in a series of administrative assistant jobs for

various temp agencies from 2007 to 2011. Id. ¶ 136.

       On April 27, 2007, Rivera consolidated his undergraduate and graduate loans with Sallie

Mae into two FFELP consolidated loans: $62,785 in subsidized Stafford loans and $63,269 in

unsubsidized Stafford loans. Id. ¶ 134. These were then added to a securities trust serviced by

Navient. Id. ¶ 135. Rivera was able to forbear loan payments until January 2011. Id. ¶ 137. He

then entered into a “Graduated, Extended Repayment” plan that had a 30-year term and that did

not consider the borrower’s income. Under the plan, Rivera was required to make monthly

payments of $772.54. Id. ¶ 138. He did so for three months until his temp work ended in May

2011. Id. ¶ 139. Unemployed, he again qualified for an economic hardship deferment on his

loans, and was able to defer payments until December 2012. Id. ¶¶ 139, 142. He then missed

two payments and incurred two consecutive late fee charges of $42.31 (totaling $84.62). Id.

¶ 142. Still facing economic hardship, he applied for and received another economic hardship

deferment which ended in August 2013. Id. ¶¶ 142-43. At that time, his outstanding interest, but

not the $84.62 in late fees, was capitalized. Id. ¶ 143. He made his monthly payments over the

ensuing year until August 2014, and satisfied the two outstanding late fees. Id. ¶¶ 145-47.

       By the summer of 2014, however, Rivera’s loan payment was more than 20% of his

take-home income and he was falling behind on his other bills. Id. ¶ 148. Rivera enrolled in

IBR in December 2014, which dropped his monthly payment from $719.53 to $389.83. Id.




                                                8
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 9 of 31




¶ 149. However, in April 2015, he lost employment and missed his April payment. He was

assessed a late payment fee of $23.39. Id. ¶¶ 150-51. Rivera submitted proof of his

unemployment benefits, which reduced his IBR monthly payment to $52.31. Id. ¶ 158.

       When his unemployment benefits expired in October 2015, Rivera began receiving

temporary assistance and lived in a men’s shelter in the Bronx. Id. ¶¶ 165-66. Unaware that as

someone on temporary assistance, he could reduce his IBR payment to $0.00, he did not ask

Navient to recalculate his IBR rate, which remained $52.31. Id. ¶ 167. In March 2016, when

Rivera filed his annual IBR recertification paperwork to determine his ongoing IBR monthly

payment amount, he reported he had no taxable income, and Navient informed Rivera that his

new IBR monthly payment was $0.00, where it remained until his disability discharge was

approved in August 2019. Id. ¶¶ 172, 179, 181, 205. Months later, on October 7, 2019, the

government paid Navient in full for Rivera’s outstanding interest and principal. Id. ¶ 206.

       From July 2015 until March 2016, however, Rivera had consistently received billing

statements from Navient that reflected a “Total Payment Due” in excess of his IBR payment that

was due. The difference reflected a single late fee of $23.39 that Rivera incurred in April 2015,

the month he lost employment.3 The “Total Payment Due” was listed as $75.70, which consisted

of his IBR payment of $52.31 listed as “Current Amount Due” and the April 2015 late fee of

$23.39 listed as “Unpaid Fee.” Id. ¶ 157-59.4 However, only the IBR payment of $52.31 was



3
  When Rivera lost his job in April 2015 and missed his April IBR payment, he spoke with
Navient, which told him to request a forbearance because he had used up his three years of
unemployment deferments. After expressing that he did not want a forbearance, the Navient
agent allowed him to submit proof of his change in income and have his IBR rate recalculated.
While it awaited proof of Rivera’s income from unemployment benefits, Navient did not require
Rivera to make payments for May and June 2015 and thus it did not charge additional late fees
for those months. Compl. ¶¶ 153-56.
4
  In contrast to the billing statements, the monthly snapshot emails only displayed the “Total
Payment Due” amount in the body of the email. Compl., Ex. A at 4-5.


                                                9
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 10 of 31




actually due. When Rivera paid the full amount of $75.70, Navient allocated the additional

$23.39 late fee to interest and thus the late fee was not paid off. Id. ¶ 161. The late fee

continued to recur as part of the “Total Payment Due” from August 2015 through March 2016.

Id. ¶ 162.

       Once Rivera’s monthly IBR statements were reduced to $0 in March 2016, Navient still

carried over his $23.39 unpaid fee from April 2015, and charged Rivera a “Total Payment Due”

of $23.39. Id. ¶ 173. From then until the government paid Rivera’s loan in full in October 2019,

Navient sent to Rivera monthly billing statements and snapshot emails that continued to report a

“Total Payment Due” of $23.39, which was $23.39 over the IBR payment of $0, i.e., the

maximum amount Navient was permitted to charge Rivera and the only amount he was required

to pay. Fearful that his IBR payment would be reset to the standard payment of $1,714 if he did

not pay the amount Navient requested, Rivera did as Navient directed. Id. ¶ 176. However,

because of the peculiar features of the IBR allocation methodologies set forth above, Navient

continued to apply Rivera’s excess payments or prepayments to accrued interest that Rivera was

not required to pay and for which he received no benefit. Navient did not apply his excess

payments to unpaid fees. Thus, every month, in a scene reminiscent of Groundhog Day, the

$23.39 reappeared and Rivera paid it.

       In April 2016, Rivera called Navient to ask why he had received a bill with the “Total

Payment Due” of $23.39 when his IBR payment had been adjusted to $0.00. The Navient agent

responded that Rivera was required only to pay the IBR payment of $0.00 and that the charge of

$23.39 was for late fees. Rivera doubted the Navient agent given that the billing statement did

not say that “Total Payment Due” was optional, and he also feared that he would lose his IBR

eligibility or have his payments increase if he did not make the payment. Id. ¶¶ 174-75. Rivera




                                                 10
        Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 11 of 31




called Navient again in January 2017 when he saw a “Total Payment Due” of $23.39 after his

IBR was recertified to equal $0.00. The Navient agent told him the same thing and he had the

same concerns. Id. ¶¶ 183-84. Rivera continued to pay the “Total Payment Due” on the billing

statements, trusting the statements rather than the telephonic advice from the Navient agent.

Finally, in 2019, Rivera sought legal help regarding a loan issued by Columbia University. It

was then that he was advised that Navient had misrepresented the “Total Payment Due.” Id.

¶¶ 201-02.

       In total, Rivera paid $1,099.33 to Navient that he was not required to pay. Id. ¶ 203; see

also Dkt. No. 41 at 4. In December 2016, Rivera fell and sustained a compound fracture of his

ankle that required surgery and confined him to a wheelchair for seven months, then required

him to use a walker, and now a cane. Compl. ¶ 188. For 30 months, he traveled by wheelchair,

then by walker, and then by cane, to deposit the $23.39 to his bank account to pay Navient.

During that same time period, in order to make his payments, he borrowed from friends, pawned

his only keepsake from his deceased mother, and postponed buying needed clothing and other

essential goods. He ceased making the payments only shortly before his disability discharge was

approved in December 2016, when he sought help regarding the unrelated loan from Columbia

University and was advised that he did not have to pay the “Total Payment Due.” Id. ¶¶ 201-02.

D.     Alleged Related Complaints Against Navient

       Plaintiff alleges that tens of thousands of FFELP borrowers in the IBR program incur late

fees that Navient collects by affirmatively misrepresenting their “Total Payment Due.” It

highlights a few complaints made to the Consumer Finance Protection Board (“CFPB”).

       In April 2016, an Arizona borrower complained to the CFPB that Navient had added $20

to his IBR payment that he paid because he was not paying attention. Id. ¶ 98. In June 2017, a

Mississippi borrower complained to the CFPB that Navient had added $500 in late fees to his


                                                11
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 12 of 31




IBR payment of $460 per month, which he paid. Id. ¶ 99. In December 2017, an Illinois

borrower complained to the CFPB that Navient was disregarding the IBR amount and

demanding that he pay the same late fees over and over. Id. ¶ 100. In May 2018, a Texas

borrower complained to the CFPB that Navient had sent him a statement indicating the “Total

Payment Due “on his IBR that included late fees. Id. ¶ 101. In July 2019, a New Jersey

borrower complained to the CFPB that Navient misrepresented the amount he owed on his

monthly statement by including the late fee amount in the “Total Payment Due.” Id. ¶ 102.

       In each instance, the borrower allegedly paid the full “Total Payment Due” intending to

satisfy the late fee, only to have the late fee recur because of the FFELP’s allocation rules. Id.

¶¶ 98-102.5

       Plaintiff further alleges that in each instance, Navient received a benefit from the

borrower because FFELP rules permit a servicer to keep the government’s payment of interest on

a subsidized IBR loan, even if the borrower has made a prepayment allocated to accrued interest.

Thus, the servicer is, in effect, paid twice for the accrued interest. Moreover, although the

government does not pay the servicer if the IBR payment does not cover accrued interest on an

unsubsidized loan, Navient still benefits from prepayments allocated to accrued interest that were

meant to satisfy the late fee: unpaid interest in IBR accumulates without interest, while paid

interest is an immediate financial asset that earns interest or generates cash flow in the hands of

the servicer. These benefits are important to Navient. The accumulation of unpaid interest on

FFELP IBR loans that Navient services is significant. Ninety percent of IBR payments Navient

receives are less than the interest that accrues on those loans each month. Id. ¶ 27.




5
  Plaintiff alleges that the CFPB database, as well as the Better Business Bureau, contain at least
ten other complaints, including two from New York, that are similar. Compl. ¶ 103.


                                                 12
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 13 of 31




E.     The Parties’ Contentions

       Rivera claims that Navient engaged in consumer fraud and negligent misrepresentation,

by repeatedly reporting a “Total Payment Due” comprised of unpaid fees that, when he received

the billing statements, he was not required to pay. He acknowledges the billing statements he

received contained a line for “Current Amount Due” that did not include the $23.39 in unpaid

fees, and that their fine print stated, “If you are on an Income-Driven Repayment (IDR) plan . . .

[y]ou are not required to pay more than the present amount due to remain current during the IDR

plan.” Id. ¶ 92; id., Ex. A at 3. But, he contends, the line for “Current Amount Due” alongside

that for “Total Payment Due” was misleading. He argues that a reasonable borrower reading the

billing statement would understand that the “Total Payment Due” was what the borrower was

required to pay regardless of what the billing statement said with respect to “Current Amount

Due,” and that understanding would be reinforced by the two other places on the first page of the

billing statement that referenced—in bold and large letters—the “Total Payment Due” without

mentioning “Current Amount Due.” As to the fine print, Rivera makes three points: (1) the

language was in 8-point print on the third page; (2) “present amount due,” listed only in the fine

print, is not defined anywhere in the billing statement; and (3) “present amount due” and

“Current Amount Due” are not reported in the monthly snapshot emails at all.6

       Rivera also acknowledges the two calls he had with the call center, in 2016 and 2017, in

which he was told that he was only required to pay the IBR payment of $0.00 and not the $23.39

for late fees. Id. ¶¶ 174-74, 183-84. But, he claims he did not credit what he was told over the



6
  Plaintiff explains that the “Current Amount Due” constitutes the IBR payment, Compl. ¶ 87,
and later alleges that Navient deliberately used “present” and “current” interchangeably to
mislead borrowers, id. ¶ 95. To that end, Plaintiff also notes that the descriptors were used on
different pages: “current” on the first page of the billing statement and “present” on the third. Id.
¶ 94.


                                                 13
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 14 of 31




telephone because the more official billing statements continued to tell him that the late fees

were included in the payment due.

        Rivera underscores that Navient had a powerful financial motive to deceive him and

others who were in the IBR program independent of its relationship with the government.

Plaintiff alleges that Navient received multiple written and oral complaints about its billing

practices related to late fees and IBR, but neglected to correct its formatting because the servicer

benefitted more from borrowers’ paid interest on FFELP loans than their unpaid interest later

capitalized. He reasons that, whereas unpaid interest in IBR accumulated without interest and

depreciated with time, paid interest is an immediate financial asset. Id. ¶ 119.

                                       LEGAL STANDARD

        To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 679 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Plaintiffs

must allege sufficient facts to “nudge[ ] their claims across the line from conceivable to

plausible.” Twombly, 550 U.S. at 570. Although the Court must accept all the factual

allegations of a complaint as true, it is “not bound to accept as true a legal conclusion couched as

a factual allegation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). The issue “is

not whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer

evidence to support the claims.” Villager Pond, Inc. v. Town of Darien, 56 F.3d 375, 378 (2d

Cir. 1995) (quoting Scheuer v. Rhodes, 416 U.S. 232, 235-36 (1974)).

                                           DISCUSSION

A.      Damages Under N.Y. Gen. Bus. Law Section 349

        Section 349 of the New York General Business Law (“N.Y. G.B.L.”) states as the law of

New York in seemingly unambiguous terms: “Deceptive acts or practice in the conduct of any


                                                  14
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 15 of 31




business, trade or commerce or in the furnishing of any service in this state are hereby declared

unlawful.” N.Y. G.B.L. § 349(a). As originally enacted, the law provided a cause of action only

to the New York Attorney General. It was amended in 1980 to provide a private right of action.

As amended, it now also provides that “any person who has been injured by reason of any

violation of [N.Y. G.B.L. § 349] may bring an action in his own name to enjoin such unlawful

act or practice, an action to recover his actual damages or fifty dollars, whichever is greater, or

both such actions.” N.Y. G.B.L. § 349(h).7

       To state a claim under Section 349, “a [private] plaintiff must allege that a defendant has

engaged in (1) consumer-oriented conduct that is (2) materially misleading and that (3) plaintiff

suffered injury as a result of the allegedly deceptive act or practice.” Orlander v. Staples, Inc.,

802 F.3d 289, 300 (2d Cir. 2015) (quoting Koch v. Acker, Merrell & Condit Co., 18 N.Y.3d 940

(2012)); accord Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000). “[A]n action under

§ 349 is not subject to the pleading-with-particularity requirements of Rule 9(b), but need only

meet the bare-bones pleading requirements of Rule 8(a).” Pelman ex rel. Pelman v. McDonald’s

Corp., 396 F.3d 508, 511 (2d Cir. 2005) (internal citations omitted).

       Although a private plaintiff need not plead or allege reliance under Section 349, see In re

Scotts EZ Seed Litig., 304 F.R.D. 397, 409 (S.D.N.Y. 2015) (stating Section 349 does not require

proof of reliance); Stutman v. Chem Bank, 95 N.Y.2d 24, 25 (2000) (“[R]eliance is not an

element of a section 349 claim”), she is required to show that the material deceptive act caused

the injury. See Small v. Lorillard Tobacco Co., 94 N.Y.2d 43, 56 (2013) (“[P]roof that a material




7
  Under Section 349(h), “[t]he court may, in its discretion, increase the award of damages to an
amount not to exceed three times the actual damages up to one thousand dollars, if the court
finds the defendant willfully or knowingly violated this section.” N.Y. G.B.L. § 349(h). In
addition, “[t]he court may award reasonable attorney’s fees to a prevailing plaintiff.” Id.


                                                 15
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 16 of 31




deceptive act or practice caused actual, although not necessarily pecuniary, harm is required to

impose compensatory damages.”) (citation and internal quotation marks omitted); Oswego

Laborers’ Local 214 Pension Fund v. Marine Midland Bank, 85 N.Y.2d 20, 26 (1995) (“[W]hile

the statute does not require proof of justifiable reliance, a plaintiff seeking compensatory

damages must show that the defendant engaged in a material deceptive act or practice that

caused actual, although not necessarily pecuniary harm.”).

        In determining whether an act is “materially misleading,” the reasonable consumer is not

held to the same standard as a lawyer trained to make fine distinctions reading a bond indenture

or a regulation. The relevant question is whether the language is “likely to mislead a reasonable

consumer acting reasonably under the circumstances.” Cohen v. JP Morgan Chase & Co., 498

F.3d 111, 116 (2d Cir. 2007) (quoting Oswego Laborers’ Local 214 Pension Fund, 85 N.Y.2d at

26); see also Orlander, 802 F.3d at 300; Duran v. Henkel of Am., 2020 WL 1503456, at *4

(S.D.N.Y. Mar. 30, 2020). Moreover, a determination of whether a particular act or practice is

misleading is not ordinarily appropriate for decision on a motion to dismiss. See Duran, 2020

WL 1503456, at *4 (“While it is possible for a court to decide this question as a matter of law,

this inquiry is generally a question of fact not suited for resolution at the motion to dismiss

stage.”).8



8
  See also Eidelman v. Sun Prod. Corp., 2017 WL 4277187, at *3 (S.D.N.Y. Sept. 25, 2017)
(“Generally, this inquiry is not appropriate on a motion to dismiss.”); Silva v. Smucker Nat.
Foods, Inc., 2015 WL 5360022, at *10 (E.D.N.Y. Sept. 14, 2015) (“What a reasonable
consumer’s interpretation of a seller’s representation might be is generally an issue of fact that is
not appropriate for decision on a motion to dismiss. I cannot say as a matter of law at this early
stage of the case that a reasonable consumer could not interpret [defendant’s] representations to
be a factual claim about [the product’s] ingredients.”) (internal citation omitted); Segedie v. Hain
Celestial Grp., Inc., 2015 WL 2168374, at *10 (S.D.N.Y. May 7, 2015) (“Whether a reasonable
consumer would be deceived by a product label is generally a question of fact not amenable to
determination on a motion to dismiss.”) (citation omitted); Verizon Directories Corp. v. Yellow
Book USA, Inc., 309 F. Supp. 2d 401, 407 (E.D.N.Y. 2004) (noting, in reference to a Lanham


                                                 16
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 17 of 31




       The Court cannot conclude here, as a matter of law, that Navient’s language would not be

misleading to a reasonable consumer. First, the email Rivera received regarding his monthly

billing statement and that contained the “snapshot of [his] monthly statement” referred alone and

in isolation to the “Total Payment Due.” It did not mention a current amount due. A snapshot is

commonly understood in a consumer context, however, to mean a summary of the most

important items of what is being snapshot. It is a synopsis, meaning a “brief summary or outline

of main points.” Black’s Law Dictionary Online, https://thelawdictionary.org/synopsis/ (last

visited August 19, 2020). A reasonable consumer thus could be excused in understanding that

when the snapshot of a billing statement lists a payment due (and no other amount), that the

payment due (and not any other amount) is what she must pay attention to in the attached billing

statement.

       Moreover, the first page of the billing statement would only reinforce and not dispel the

reasonable consumer from believing that the amount she is required to pay is the total payment

due. In the first place, the billing statement uses the language “Total Payment Due,” and not

some other language such as the amount outstanding on a prior loan. But, “payment” is

commonly understood as “an amount of money that is paid for something.” Merriam-Webster

Online Dictionary, http://www.merriam-webster.com/dictionary/payment (last visited August 19,

2020); see also Black’s Law Dictionary (11th ed. 2019) (“The act of paying or being paid”; “To

give money for a good or service that one buys.”). And, while “due” has several different

definitions, one of them, even to a lawyer, is that it is payable or, in other words, “the time for




Act claim, that “[a] federal trial judge, with a background and experience unlike that of most
consumers, is hardly in a position to declare” that reasonable consumers would not be misled,
and indicating that resolution of the issue may require “surveys, expert testimony, and other
evidence of what is happening in the real world”).


                                                  17
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 18 of 31




payment of it has arrived.” Black’s Law Dictionary Online, https://thelawdictionary.org/due/

(last visited August 19, 2020); see Black’s Law Dictionary (11th ed. 2019) (“Immediately

enforceable.”); Merriam-Webster Online Dictionary, http://www.merriam-

webster.com/dictionary/due (last visited August 19, 2020) (“[H]aving reached the date at which

payment is required.”). And, as Plaintiff emphasizes, the word “total” is defined as “constituting

the whole.” Dkt. No. 14 at 9 (quoting American Heritage Dictionary (4th ed. 2001)); see Black’s

Law Dictionary (11th ed. 2019) (“Whole; not divided; full; complete”; “Utter; absolute.”);

Merriam-Webster Online Dictionary, http://www.merriam-webster.com/dictionary/total (last

visited August 17, 2020) (“[C]omprising or constituting a whole.”).

       It thus certainly would not be unreasonable or patently implausible for a consumer,

reading the language “Total Payment Due,” to understand that the figure reflected after that

constituted the whole amount of payment the consumer was required to make. See Eidelman,

2017 WL 4277187, at *4 (“[W]hether an interpretation is unreasonable as a matter of law is

generally reached at this stage only where, for instance, a plaintiff’s claims as to the impressions

that a reasonable consumer might draw are ‘patently implausible’ or unrealistic.”); Stoltz v. Fage

Dairy Processing Indus., S.A., 2015 WL 5579872, at *20 (E.D.N.Y. Sept. 22, 2015) (noting the

[pending] case “d[id] not present the type of patently implausible claim that warrants dismissal

as a matter of law based on the reasonable consumer prong”) (emphasis added).

       Such a consumer would not be disabused of his understanding by the line preceding the

“Total Payment Due,” in the detail of the first page that refers to the “Current Amount Due.”

The first page of the billing statement prominently contains the figure from the “Total Payment

Due” (and not the current amount) in a window in the upper right corner that informs the

borrower how much she has due on the due date alongside information on how to make a




                                                 18
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 19 of 31




payment conveniently. The plain message is that the full amount is due on that due date. It also

lists the figure from the “Total Payment Due” (and not the current amount) following the

language for “Total Payment Due,” which is in large bold type, on the perforated payment slip to

be detached and included with a payment. The tear sheet does not refer to the current amount

due. Compl., Ex. A at 1. It is not at all self-evident that the “Total Payment Due” is something

other than the total payment that is due and that the borrower is required to make.

       Indeed, the “Current Amount Due” is reflected as the sum of the interest and principal

payment that is due for the relevant period. Id. Thus, a consumer reading the snapshot and first

page of the billing statement could well understand that what was reflected in “Current Amount

Due” was the amount that had accrued as a result of current activity (i.e., the loan being

outstanding for an additional month), and that it did not relieve the borrower from paying off the

late fee that had accrued and was owing from earlier periods. See Rozier v. Fin. Recovery Sys.,

Inc., 2011 WL 2295116, at *3, 5 (E.D.N.Y. June 7, 2011) (finding that “instead of providing the

consumer with the actual amount due,” the “language used would cause a reasonable consumer

to be unclear about both the amount of debt owed and whether the consumer would incur

unspecified, additional charges on the debt”).

       Under some circumstances, “the presence of a disclaimer or similar clarifying language

may defeat a claim of deception.” Fink v. Time Warner Cable, 714 F.3d 739, 742 (2d Cir. 2013).

However, those circumstances do not exist here.

       Defendant points to two places on the three-page billing statement where it claims that

the reference to “Total Payment Due” and the indication of how much must be paid is clarified:

language in the fine print on the second page that indicates that the borrower must pay the “Past

Due Amount . . . to avoid a Late Fee,” and language in the fine print of the third page that




                                                 19
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 20 of 31




indicates what must be paid by borrowers on IBR plans. Neither of these disclosures is

sufficient, however, as a matter of law to permit Navient to avoid liability.

       In the first place, based on Plaintiff’s allegations, there would be no reason for a

reasonable consumer “to look beyond misleading representations on the front” of the billing

statement to discover the “truth” from the fine print in the remainder of the billing statement.

Mantikas v. Kellogg Co., 910 F.3d 633, 637 (2d Cir. 2020). Both from the language on the first

page of the billing statement and from the way in which billing statements are configured, a

reasonable consumer would not expect the fine print on the remainder of those pages to do

anything other than confirm, rather than contradict, the representations on the first page. Id.

       Moreover, if a consumer were confused by the language in the snapshot emails and on

the first page of the billing statement, the language on the second and third pages of the billing

statement would not necessarily dispel the confusion. The language to which Navient refers on

the second page of the billing statement refers to the “Loan Details” and comes after the “Loan

Information” (as of the billing date) and the “Billing Period Summary” (for the prior period).

Compl., Ex. A at 2. On its face, it does not purport to be a statement of the total amount the

borrower must pay in response to the billing statement. Consistent with the box being a

summary of the “Loan Details,” it has lines for the “Loan Date,” the “Loan Program,” the

“Interest Rate,” whether the interest rate is fixed or variable, and the “Total Payment Due.” It is

only at the bottom of the box, after Navient sets forth the “Past Due Amount,” the “Current

Amount Due,” and the amount of “Unpaid Fees,” that the billing statement indicates that only

the “Past Due Amount” must be paid within a few weeks and the “Current Amount + Any Past

Due Amount” must both be paid by a later date “to avoid a Late Fee.”




                                                 20
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 21 of 31




       Thus, even on its face and even assuming the (dubious) proposition that a reasonable

consumer would be required as a matter of law to look through all of the language regarding

“Loan Details” to understand what she has to pay in response to a billing statement, the language

would only indicate what must be paid to avoid a late fee and not what must be paid to be

compliant with the terms of the loan (and with the borrower’s IDR plan). See, e.g., Goldemberg

v. Johnson & Johnson Consumer Cos., Inc., 8 F. Supp. 3d 467, 479-80 (S.D.N.Y. Mar. 27,

2014) (holding that where defendant’s trademark and advertising “exclusively tout[ed]” natural

ingredients in its “Active Naturals” personal care products, the disclosure of synthetic

ingredients on the back label did not as a matter of law prevent a reasonable consumer from

being misled); In re Frito-Lay N. Am., Inc. All Nat. Litig., 2013 WL 4647512, at *16 (E.D.N.Y.

Aug. 29, 2013) (despite “surrounding language that gave context to the label’s center

pronouncement,” the court could not “hold as a matter of law that . . . no reasonable consumer

would be deceived”); Ackerman v. Coca-Cola Co., 2010 WL 2925955, at *15 (E.D.N.Y. July 21,

2010) (“[T]he presence of a nutritional panel, though relevant, does not as a matter of law

extinguish the possibility that reasonable consumers could be misled by [defendant]’s labeling

and marketing.”). Furthermore, factors such as “font size, placement, or emphasis of a

disclaimer can be relevant to whether the terms and conditions were in fact fully disclosed.”

Delgado v. Ocwen Loan Servicing, LLC, 2014 WL 4773991, at *8 (E.D.N.Y. Sept. 24, 2014);

see Lonner v. Simon Prop. Grp, Inc., 866 N.Y.S.3d 239, 247 (2d Dep’t 2008) (holding that “the

inadequate font size in which the dormancy fee provision was printed, and the defendant’s

concomitant failure to conspicuously disclose that provision,” constituted a deceptive business

practice” for purposes of Section 349).




                                                21
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 22 of 31




       The third page of the billing statement contains the language: “You are not required to

pay more than the present amount due to remain current during the IDR plan.” Compl., Ex. A at

3. But a reasonable consumer would not necessarily consult that language if the language on the

first page were confusing. In the first place, there are two columns with information on the third

page, each of which contains over 70 lines of text. The language to which Navient refers is in

the first column, at the end of the fourth paragraph answering the question: “How do you allocate

my payment across my loans on this statement?” Id. It would not be self-evident to a reasonable

consumer confused by how much she had to pay that the obvious place to look was in the fine

print on how the payment she was required to make would be allocated. If she paid the full

“Total Payment Due,” which included the amount for late fees, and nothing more, she would not

necessarily think that there was an issue of allocation at all. She could reasonably believe that

the payment would be allocated based on the categories that made up the “Total Payment

Due”—to any interest or principal owed with respect to the current period and to late fees and to

nothing more or less. Nor, indeed, if she thought to read through all the fine print on the third

page, would she necessarily understand that she had to pay only the “Current Amount Due” as

reflected on the first page of the billing statement as opposed to the “Total Payment Due.” That

is because the fine print uses the language “present amount due,” and not current amount due. It

thus begs the question, and does not answer it, whether the present amount due is the “Total

Payment Due” or the “Current Amount Due.”

       Next, Navient relies on the two telephone calls that Rivera himself made to the call center

in which he admits he was told that he did not need to pay the total amount due. Navient argues

that “Plaintiff’s entire case hinges on his claim that he was deceived into paying the Fee” and

that he cannot prevail on that claim because he was provided information in the telephone calls




                                                 22
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 23 of 31




“that he was not required to pay the Fee and that any payments would be applied to outstanding

interest.” Dkt. No. 11 at 18. In its reply, Navient recasts the argument: “[T]he Court must take

into account the ‘entire mosaic’ of the relationship and not just view ‘each tile separately.’” Dkt.

No. 15 at 4 (quoting Davis v. Hain Celestial Group, Inc., 297 F. Supp. 3d 327, 338 (E.D.N.Y.

2018)). As alleged, Rivera continued to pay the “Total Payment Due” because—even after

having the calls—the billing statements included the late fee in that amount, and Rivera credited

the billing statement and not the call with the call center operators.

       Navient’s argument is not sufficient to defeat Rivera’s claim as a matter of law. A

Section 349 claim asks whether the language on the billing statement would have been confusing

or misleading to a reasonable consumer, and not to the plaintiff before the Court based on his or

her own idiosyncratic facts. See Orlander, 802 F.3d at 300. The test is objective. The question

thus is not whether the language would have been confusing or misleading to Rivera personally

after he had the call center operators. And, as noted above, reliance is not an element of a

Section 349 claim. Navient’s argument goes, if at all, to the issue of whether Navient’s false and

misleading statement caused Rivera’s injury, entitling him to recover for the payments. It does

not go to whether Navient made a false and misleading statement in the billing statement itself.

       It therefore is not surprising that the single case Navient makes to support its argument is

not apposite. In Davis, a consumer alleged he was deceived into believing that a juice was

predominantly made of beet juice because the front label of the product listed its ingredients in

order as “beet, apple, carrot, lemon, ginger” and “raw,” and the beverage itself was red. 297 F.

Supp. 3d at 331. Meanwhile, the side label listed the ingredients, in order of weight, as “organic

apple, organic carrot, organic beet, filtered water, organic lemon and organic gender,” id.,

making clear that beet was not the predominant ingredient. Looking at the label as a whole, the




                                                 23
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 24 of 31




court rejected that claim and granted defendant’s motion to dismiss. It held: “If a plaintiff

alleges that an element of a product’s label is misleading, but another portion of the label would

dispel the confusion, the court should ask whether the misleading element is ambiguous. If so,

the clarification can defeat the claim. This is because reasonable consumers understand that,

with vague product descriptions, ‘the devil is in the details.’” Id. at 334 (citation omitted). The

court thus ruled that plaintiff’s allegations failed to state a claim for relief: “Consumers are

accustomed to seeing a product’s ingredients listed by weight under the nutrition facts—as they

are here. The ingredient lists thus clarify—in exactly the spot consumers are trained to look—

that the premium ingredients are not the most predominant ingredients. No reasonable consumer

could have been misled in light of this clarifying language.” Id. at 337.

       Davis provides no support to Navient’s argument. In Davis, it was critical that the

allegedly misleading statement was ambiguous and that the clarifying language was on another

portion of the same label in exactly the spot that consumers are trained to look. The case is

based on the general proposition that “an allegedly misleading statement must be viewed ‘in light

of its context on the product label or advertisement as a whole.’” Mantikas, 910 F.3d at 633

(citation omitted). It does not support the proposition for which Navient cites it (and which finds

no support in the law) that a reasonable consumer confronted with a misleading advertisement

would be expected to go beyond the advertisement as a whole and contact a call center, or that a

defendant can publish a false or misleading advertisement and escape liability under Section 349

so long as the misstatement is corrected by a call center operator for those few who are lucky or

shrewd enough to call and ask for clarification.9



9
 The remainder of the cases Navient relies upon each are easily distinguishable. In Fermin v.
Pfizer Inc., 215 F. Supp. 3d 209 (E.D.N.Y. 2016), plaintiffs claimed that the size of defendant’s
pill containers deceived them as to the number of pills they would receive. But, the court found,


                                                  24
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 25 of 31




       Finally, relying on Federal Crop Ins. Corp. v. Merrill, 332 U.S. 380 (1947), Navient

argues that Rivera should not be able to recover against it because the regulatory language of 34

C.F.R. § 682.215(b)(1)(iii) specified how much a borrower on an IBR plan was required to pay

and “the appearance of rules and regulations in the Federal Register gives legal notice of their

contents.” Id. at 385. Merrill, however, was a lawsuit against a wholly government-owned

enterprise seeking recovery from the government under a government insurance program. The

Supreme Court, in that context, held that the insurance available from the government could not

be expanded based on an alleged misrepresentation by a government agent. It reasoned, “[i]f the

Federal Crop Insurance Act had by explicit language prohibited the insurance [at issue], the

ignorance of such . . . recovery could not be had against the [c]orporation for [the] loss.” Id. at

384. It made no difference that the prohibition was contained in a regulation and not in a statute.

       Merrill did not purport to define for purposes of New York law the expectations and

obligations of a reasonable consumer. Nor has Navient cited to any case under Section 349 that




“each of the packages in Plaintiffs’ Complaint clearly display[ed] the total pill-count on the
label” and “the tablet count [was] clearly and prominently displayed on each of the labels” and
was “unambiguous.” Id. at 211-12. Because it would be “impossible to view the products
without also reading the total number of pills contained in each package,” the court held that the
complaint failed the “reasonable consumer” test. Id. at 212. La Vigne v. Costco Wholesale
Corp., 284 F. Supp. 3d 496 (S.D.N.Y. 2018) raised the question—rejected by other courts—of
whether it was reasonable for consumers to expect that they are purchasing a certain amount of
product solely because of the size of its packaging. It held, in line with the decisions of those
other courts, that it was not, particularly given that “the front of each can of Kirkland Canned
Chicken [was] labeled to clearly indicate that it contains canned chicken ‘packed in water’” and
“[t]he label also display[ed] the net weight per can of the enclosed product.” Id. at 513. In Lokai
Holdings LLC v. Twin Tiger USA LLC, 306 F. Supp. 3d 629, 641 (S.D.N.Y. 2018), the allegedly
misleading statement that a bracelet contained water from Mt. Everest was both ambiguous on its
face as to whether it would always retain that water and was clarified by a disclaimer on the very
same website that the water may evaporate over time. Finally, Broder v MBNA Corp., 722
N.Y.S.2d 524, 526 (1st Dep’t 2001) upheld a decision denying a motion for summary judgment
on a Section 349 claim, ruling that the question of whether the disclosure was misleading raised
a question of fact.


                                                 25
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 26 of 31




would require a reasonable consumer confronted with misleading language to consult 34 C.F.R.

§ 682.215—which contains seven subsections and is seven pages long—to understand her

obligations.10 In Merrill itself, the Supreme Court assumed that if the misrepresentation at issue

had been made by a private insurance company, and not a government corporation, “recovery

could be had.” 332 U.S. at 383. Plaintiff has pleaded a false and misleading consumer

statement. The Code of Federal Regulations does not deprive him of the right to try to prove his

case.

B.      Injunctive Relief Under N.Y. Gen. Bus. Law Section 349

        Navient argues that Rivera’s first cause of action, for injunctive relief, should be

dismissed because he alleges no ongoing injury, he has an adequate remedy at law, and he does

not plead a sufficient basis for any injunctive relief. Dkt No. 11 at 13. That motion is granted.

        A plaintiff must demonstrate standing “for each claim and form of relief

sought.” Buonasera v. Honest Co., Inc., 208 F. Supp. 3d 555, 564 (S.D.N.Y. 2016). To satisfy

the requirements of standing under Article III of the Constitution, a plaintiff must establish three

elements: “(1) the plaintiff must have suffered an injury in fact, i.e., an invasion of a legally


10
   Navient relies on Milich v. State Farm Fire & Cas. Co., 513 F. App’x 97 (2d Cir. 2013), which
required disclosure language that explicitly incorporated and directed the reader to the language
of state law. The plaintiff was the policy holder of an insurance policy that extended workers
compensation coverage for injuries sustained by a covered residence employee, which was
defined as an employee who was both engaged in regular employment of less than 40 hours per
work and “defined under the New York Workers Compensation Law as an employee for whom
workers compensation benefits must be provided.” Id. at 98. The insured submitted a claim for
a domestic employee who worked fewer than 40 hours per week but that claim was denied
because under the New York Worker Compensation Law, an employer need not provide workers
compensation benefits to domestic employees who work less than 40 hours per week. The court
rejected plaintiff’s claim that the endorsement was misleading because the policy “clearly”
“incorporate[ed] into the definition of residence employee the terms of the New York statute”
and “[a] policyholder who declines to read the readily accessible provisions referred to cannot
claim to have been misled.” Id. at 99. Here, by contrast, the billing statement purported to be an
all-inclusive statement of Rivera’s obligations and did not refer him to the provisions of the
federal regulations as the language that was binding on him with respect to his loan obligations.


                                                  26
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 27 of 31




protected interest which is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical; (2) there must be a causal connection between the injury and the

conduct complained of; and (3) it must be likely, as opposed to merely speculative, that the

injury will be redressed by a favorable decision.” Nat’l Org. for Marriage, Inc. v. Walsh, 714

F.3d 682, 688 (2d Cir. 2013) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61

(1992)). Moreover, to demonstrate an injury in fact when seeking injunctive relief, “a plaintiff

cannot rely on a past injury alone,” Buonasera, 208 F. Supp. 3d at 564, but must establish “a

‘real or immediate threat’ of injury,” Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir.

2016) (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 101, 111-12 (1983)). “The Supreme

Court has repeatedly reiterated that threatened injury must be certainly impending to constitute

injury in fact, and that allegations of possible future injury are not sufficient.” Daniel v. Tootsie

Roll Indus., LLC, 2018 WL 3650015, at *6 (S.D.N.Y. Aug. 1, 2018) (quoting Am. Civil Liberties

Union v. Clapper, 785 F.3d 787, 800 (2d Cir. 2015)).

       These same standards apply to injunctive actions in federal courts under Section 349.

See, e.g., Izquerdo v. Panera Breads Co., 2020 1503557, at *3 (S.D.N.Y. Mar. 30, 2020); Duran,

2020 WL 1503456, at *12; Yee Ting Lau v. Pret A Manger (USA) Ltd., 2018 WL 4682014, at *2

(S.D.N.Y. Sept. 28, 2018) (citing Kommer v. Bayer Consumer Health, 710 F. App’x 43, 44 (2d

Cir. 2018)); see also In re Amla Litig., 320 F. Supp. 3d 578, 593 (S.D.N.Y. 2018) (plaintiffs

lacked standing to seek injunctive relief under Section 349 where they “adduce[d] no evidence

that they are likely to repurchase the product, and indeed allege[d] that they would not have

purchased the product in the first place had they known of its alleged defects”).

       In Berni v. Barilla S.p.A., 964 F.3d 141 (2d Cir. 2020), the Second Circuit was

confronted with the question of whether certification of a Rule 23(b)(2) class action for




                                                 27
         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 28 of 31




injunctive relief was appropriate on behalf of a group of past purchasers of a product who

claimed that they were misled by the defendant’s advertising. The Second Circuit held that it

was not. In so doing, it confronted directly the question presented here: whether a past purchaser

who claims that she was misled into buying a product by a misleading advertisement can obtain

injunctive relief restraining the defendant from continuing to engage in its illegal conduct. The

Second Circuit held that the past purchaser could not obtain such injunctive relief. It is worth

quoting its reasoning at length:

       Our analysis starts with the familiar principle that injunctive relief is only proper
       when a plaintiff, lacking an adequate remedy at law, is likely to suffer from injury
       at the hands of the defendant if the court does not act in equity. The
       prospective-orientation of the analysis is critical: to maintain an action for
       injunctive relief, a plaintiff ‘cannot rely on past injury . . . but must show a
       likelihood that he . . . will be injured in the future. If the injury occurred in the past
       . . . then plaintiffs will lack the kind of injury necessary to sustain a case or
       controversy, and necessary to establish standing, under Article III.
       ....
       [P]ast purchasers of a consumer product who claim to be deceived by that product’s
       packaging—like the purchasers of Barilla pasta here—have, at most, alleged a past
       harm.
       ....
       For several reasons, past purchasers of a product, like the Barilla purchasers, are
       not likely to encounter future harm of the kind that makes injunctive relief
       appropriate. In the first place, past purchasers are not bound to purchaser a product
       again—meaning that once they become aware they have been deceived, that will
       often be the last time they will buy that item.
       ....
       But even if they do purchase it again, there is no reason to believed that all, or even
       most, of the class members will incur a harm new. Supposing that they have been
       deceived by the product’s packaging once, they will not again be under the illusion
       that the boxes of the newer pasta are filled in the same way as the boxes of the older
       pasta. Instead, next time they buy one of the newer pastas, they will be doing so
       with exactly the level of information that they claim they were owed from the
       beginning.

Id. at 146-49 (internal citations omitted).11



11
  The Second Circuit explicitly rejected the reasoning of the cases upon which Plaintiff relies,
including In re Amlat Litig., 282 F. Supp. 3d 751, 769 (S.D.N.Y. 2017), Ackerman, 2013 WL


                                                  28
           Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 29 of 31




       Berni is dispositive here. Based on Plaintiff’s own allegations, his loans were discharged

and Navient is no longer servicing them. By 2019, even before the loans were discharged, he

was informed—and believed—that notwithstanding the language on Navient’s bills, he did not

have to pay more than the IBR amount and, specifically, did not have to pay the late fee amount.

See Compl. ¶ 174. He alleges that he was misled by the language on the Navient billing

statement. Even if he became a debtor again on a student loan serviced by Navient, there is no

reason to believe he will be under the same illusion again.

C.     Negligent Misrepresentation

       In his third cause of action, Plaintiff alleges Navient is liable for negligent

misrepresentation as a result of the alleged false and misleading statements on its billing

statements. Navient argues that, even if its billing statements contained misleading

representations, it cannot be held liable in negligence because, as the servicer on behalf of the

lender of a loan extended to Plaintiff, it owed Plaintiff no duties enforceable for negligent

misrepresentation.

       Plaintiff relies on statements made by Navient on its public-facing website:

       •    We are one of a select group of companies chosen to service student and parent
            federal loans for the U.S. Department of Education.

       •    We are here to help you successfully navigate your student loans.

       •    Watch out for companies that offer “student debt relief.” You never have to pay
            for help.

       •    We maintain a robust, multi-layered compliance management system and
            thoroughly understand and comply with applicable federal and state laws.




7044866, at *17, and Belfiore v. Procter & Gamble Co., 311 F.R.D. 29, 67 (E.D.N.Y. 2015).
See Berni, 964 F.3d at 148 nn.30 & 32.


                                                 29
            Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 30 of 31




        •    Our mission is to enhance the financial success of our customers [student loan
             borrowers] by delivering innovative solutions and insights with compassion and
             personalized service.

        •    Rather than a one-size-fits-all approach, we work to understand details like
             customers’ life stages and the status of their loans. This context helps us
             determine the right information and resources to highlight at the right times, so
             customers can make informed decisions.

Compl. ¶¶ 111, 239.

        “Under New York law, the elements of a negligent misrepresentation claim are that (1)

the defendant had a duty, as a result of a special relationship, to give correct information; (2) the

defendant made a false representation that he or she should have known as incorrect; (3) the

information supplied in the representations was known by the defendant to be desired by the

plaintiff for a serious purpose; (4) the plaintiff intended to rely and act upon it; and (5) the

plaintiff relied on it to his or her detriment.” Hydro Inv’rs, Inc. v. Trafalgar Power Inc., 227

F.3d 8, 20 (2d Cir. 2000).

        The case law is clear in this District that the relationship between a borrower and the

company that services a student loan is not sufficient to support a cause of action for negligent

misrepresentation under New York law. See Hyland v. Navient Corp., 2019 WL 2918238, at *11

(S.D.N.Y. July 8, 2019); Genna v. Sallie Mae, Inc., 2012 WL 1339482 at *5 (S.D.N.Y. April 17,

2012) (“[T]he case law is sufficiently clear and consistent that in New York “an arm’s length

borrower-lender relationship . . . does not support a cause of action for negligent

misrepresentation’”) (quoting Dobroshi v. Bank of Am., N.A., 886 N.Y.S.2d 106, 109 (1st Dep’t

2009)).12



12
  The only two cases cited by Plaintiff in which negligent misrepresentation claims were
adequately pled are distinguishable. See Daniel v. Navient Solutions, LLC, 328 F. Supp. 3d 1319
(M.D. Fla. 2018) (claim under Florida law); Olsen v. Nelnet, Inc., 392 F. Supp. 3d 1006 (D. Neb.
2019) (claim under Nebraska law; no discussion of existence of duty).


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         Case 1:20-cv-01284-LJL Document 16 Filed 08/19/20 Page 31 of 31




       In Hyland, Judge Cote set forth the applicable principles in rejecting a similar claim of

negligent misrepresentation for failure to plead that Navient, as servicer, owed any duties to the

plaintiff. Judge Cote reasoned: “The general rule is that a lender does not owe tort duties to a

borrower. Courts applying New York, Florida, California, and Maryland law have applied that

rule to both lenders and loan servicers.” 2019 WL 2918238, at *11 (internal citations omitted).

Although Navient had “made representations on its public-facing website about the quality of its

customer service,” “[t]hese representations d[id] not establish that Navient has undertaken a

fiduciary duty to act or give advice for the benefit of its borrowers.” Id.

       The relationship between Navient and Rivera here is materially indistinguishable from

that in Hyland. This cause of action therefore is dismissed with prejudice.

                                         CONCLUSION

       Defendant’s motion to dismiss the second cause of action is DENIED. Defendant’s

motion to dismiss the first and third causes of action is GRANTED WITH PREJUDICE.

       A status conference is scheduled for September 18, 2020 at 10:30 a.m. One week prior to

conference, the parties shall jointly submit to the Court a proposed Case Management Plan and

Scheduling Order.

       The Clerk of Court is respectfully directed to close Dkt. No. 9.



       SO ORDERED.


Dated: August 19, 2020                                __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                            United States District Judge




                                                 31
